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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                             ENTERED
                                                                                               10/29/2019
IN RE:                                           §
LUTHER WAYNE SMITH; aka SMITH                    §       CASE NO: 19-34093
       Debtor(s)                                 §
                                                 §       CHAPTER 7
                                                 §
KAPITUS SERVICING, INC.                          §
      Plaintiff(s)                               §
                                                 §
VS.                                              §       ADVERSARY NO. 19-03655
                                                 §
LUTHER WAYNE SMITH                               §
     Defendant(s)                                §

                            PRELIMINARY PRETRIAL ORDER

COUNSEL FOR ALL PARTIES ARE HEREBY ORDERED to confer with opposing
counsel, and together prepare in writing and file with the Court no less than 24 hours prior to the
pretrial conference set on January 8, 2020 at 11:00 a.m. at Courtroom 403, 515 Rusk St.,
Houston, Texas in this cause, a JOINT DOCUMENT captioned “PRETRIAL
STATEMENT” containing the following:

FOR PLAINTIFF(S)
  1. A brief statement of the theory of each cause of action.
  2. A brief summary of plaintiff’s contentions of facts in support of causes of action and the
     evidence to be relied upon to establish each of the facts contended.
FOR EACH DEFENDANT & EACH ADDITIONAL PARTY
  1. A brief statement of the theory of your defense(s), interests, causes of action, etc.
  2. A brief summary of contentions of facts in support of legal theories, and the evidence to
     be relied upon to establish each of the facts contended.
Each of the parties will present to opposing counsel at their conference (to be held by counsel
prior to the judicial pretrial conference) the matters set out above for incorporation in the joint
document.
FOR ALL PARTIES – In addition, the joint document is to include the following:
    1. A statement to all admitted or uncontested facts.
    2. Each party’s brief statement of contested facts.
    3. Each party’s statement of contested legal issues.
    4. A list and description of any motions pending or contemplated and any special issues
        appropriate for determination in advance of trial on the merits.
ALL OF THE ABOVE IS TO BE INCORPORATED IN ONE DOCUMENT WHICH IS
TO BE SIGNED BY ALL ATTORNEYS PRIOR TO THE FILING.
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You have the right to object to the final adjudication by this Court of any non-core matters or
matters that fall within the scope of Stern v. Marshall, 564 U.S. 2 (2011). Any such objection to
this Court’s entry of final orders in this case must be filed with the Court no later than one day
before the date set for the pretrial conference.

       SIGNED: 10/29/2019.


                                                 ___________________________________
                                                 Jeffrey P. Norman
                                                 United States Bankruptcy Judge




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